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         6
         7   Attorney for Plaintiff-Intervenor, EL CAMINO ATHLETIC BOOSTERS CLUB, a California
             non-profit corporation
         8
                                     UNITED STATES DISTRICT COURT
         9
                                    EASTERN DISTRICT OF CALIFORNIA
        10
        11   VIDEO GAMING TECHNOLOGIES, INC.,            )   Case No. 2:08-CV-01241 JAM EFB
             dba, VGT, Inc., a Tennessee Corporation;    )
        12
             UNITED CEREBRAL PALSY OF GREATER            )   STIPULATION FOR FILING OF
        13   SACRAMENTO, a California Non-Profit         )   FIRST AMENDED COMPLAINT AND
             Corporation; WIND Youth Services, a         )   ORDER THEREON
        14   California Non-Profit Corporation; ROBERT   )
             FOSS, an individual; JOAN SEBASTIANI, an    )
        15   individual,                                 )
        16                                               )
                               Plaintiffs,               )
        17                                               )
             V.                                          )
        18                                               )
             BUREAU OF GAMBLING CONTROL, a law           )
        19   enforcement division of the California      )
        20   Department of Justice; MATHEW J.            )
             CAMPOY, in his official capacity as the     )
        21   Acting Chief of the Bureau of Gambling      )
             Control,                                    )
        22                                               )
                             Defendants,                 )
        23
             ____________________________________        )
        24                                               )
             AND RELATED INTERVENORS                     )
        25   ____________________________________        )
        26
                   IT IS HEREBY STIPULATED, by and between Plaintiff-Intervenor, EL CAMINO
        27
             ATHLETIC BOOSTERS CLUB (“Boosters’”), and Defendants BUREAU OF GAMBLING
        28
                                                          -1-
                          STIPULATION FOR FILING OF FIRST AMENDED COMPLAINT
                                              AND ORDER THEREON
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         1   CONTROL(“Bureau”) and MATHEW J. CAMPOY (“Campoy”) through their respective
         2   counsel of record, that Boosters may file a First Amended Complaint (‘FAC’), a copy of
         3   which is attached hereto as Exhibit “A.”
         4          IT IS FURTHER STIPULATED that defendants Bureau and Campoy waive notice
         5   and service of the FAC, and that said FAC shall be deemed filed and served as of the
         6   date the Court approves this Stipulation.
         7          IT IS FURTHER STIPULATED that defendants Bureau and Campoy shall have 30
         8   days from the date the Court approves this stipulation to file a response to the First
         9   Amended Complaint. Boosters shall affect service of the FAC on the new defendant,
        10   JOHN McGINNESS, in his official capacity as Sacramento County Sheriff, in accordance
        11   with the Local Rules of this Court.
        12          IT IS FURTHER STIPULATED that, by executing this stipulation, defendants do
        13   not waive their right to challenge the sufficiency of the First Amended Complaint and/or
        14   the claims and remedies contained therein, nor do defendants waive any substantive,
        15   procedural, and/or jurisdictional defenses regarding the First Amended Complaint itself
        16   and/or any further proceedings that may be initiated on the basis of it.
        17
        18          IT IS HEREBY SO AGREED.

        19
        20   Dated: November 18, 2008                    LAW OFFICES OF K. GREG PETERSON

        21
                                                         By:     /s/ K. Greg Peterson
        22                                                       K. Greg Peterson, Esq., attorney for
        23                                               Plaintiff-Intervenor, EL CAMINO ATHLECTIC
                                                         BOOSTERS CLUB, a California non-profit
        24                                               corporation

        25
             ///
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                          STIPULATION FOR FILING OF FIRST AMENDED COMPLAINT
                                              AND ORDER THEREON
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         1
         2                                     Edmund G. Brown, Jr.,
                                               Attorney General of the State of California
         3                                     Robert L. Mukai,
                                               Senior Assistant Attorney General
         4
                                               Sara J. Drake,
         5                                     Supervising Deputy Attorney General
                                               Jennifer T. Henderson
         6                                     Deputy Attorney General
         7
         8
             Dated: November 18, 2008          By: ____/s/ William L. Williams, Jr.
         9                                            William L. Williams, Jr.
                                                      Deputy Attorney General
        10                                     Attorneys for Defendants
        11
        12
                  IT IS HEREBY SO ORDERED.
        13
        14
        15
             Date: November 18, 2008           /s/ John A. Mendez_______
        16                                     Hon. John A. Mendez
                                               United States District Court
        17
                                               Eastern District of California
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                          STIPULATION FOR FILING OF FIRST AMENDED COMPLAINT
                                              AND ORDER THEREON
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